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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                     CASE NO: 8:13-cr-434-T-30TBM

 YUGOOL PERSAUD


                                           ORDER

       THIS CAUSE comes before the Court on Defendant's Motions to Reduce Sentence

 pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782 to U.S.S.G. (Docs. 172 and 192). 1

 Upon review and consideration, the Court concludes Defendant is ineligible for an

 Amendment 782 sentence reduction because the Court already granted a 2 level downward

 departure at sentencing based on the proposed amendment. (Doc. 180). As such,

 Defendant’s Motions for an additional reduction is without merit.

       Accordingly, it is ORDERED AND ADJUDGED that Defendant's Motions to

 Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782 to U.S.S.G.

 (Docs. 172 and 192) are DENIED.

       DONE and ORDERED in Tampa, Florida, this 8th day of June, 2017.




 Copies furnished to:
 Counsel/Parties of Record


       1
           Defendant filed two motions seeking an Amendment 782 sentence reduction.
